                         UNITED STATES DISTRICT COURT
                                    FOR THE
                          DISTRICT OF MASSACHUSETTS


ONASSIS NGUYEN
            Plaintiff
                                                 CIVIL ACTION NO.
v.

CHARTIS CLAIMS, INC. f/k/a AIG
CLAIMS SERVICES, INC., and NATIONAL
UNION FIRE INSURANCE COMPANY OF
PITTSBURGH, PA
              Defendant

                               NOTICE OF REMOVAL

         Pursuant to 28 U.S.C. §§1332, 1441, 1446 and LR, D. Mass 81.1, the defendants

Chartis Claims, Inc. and National Union Fire Insurance Company of Pittsburgh, Pa.

(collectively the “defendants”), submit this Notice of Removal, and as grounds state as

follows:

         1.     On or about September 22, 2011, the above action was filed in Worcester

Superior Court, Worcester County. The caption of the Complaint is as follows: Onassis

Nguyen v. Chartis Claims, Inc. f/k/a AIG Claims Services, Inc. and National Union Fire

Insurance Company of Pittsburgh, PA, Worcester Superior Court, Civil Action No. 11-

1867B.

         2.     Chartis Claims, Inc. was served with the Summons and Complaint on or

about October 3, 2011.

         3.     Removal is timely under 28 U.S.C. § 1446(b), as fewer than 30 days have

passed since the defendants were purportedly served with process.
        4.        A copy of the Complaint and all other process, pleadings and orders

served upon the defendants in this action is attached hereto as Exhibit A.

        5.        Removal is based on diversity of citizenship between all parties and the

amount in controversy which exceeds $75,000.

        6.        According to the Complaint, the plaintiff, Onassis Nguyen, is a natural

person with a residence located in Leominster, County of Worcester, Massachusetts.

        7.        The defendant, Chartis Claims, Inc. is a corporation organized under the

laws of the state of Delaware with its principal place of business in New York, New

York.

        8.        The defendant, National Union Fire Insurance Company of Pittsburgh,

Pa., is a corporation organized under the laws of Commonwealth of Pennsylvania with its

principal place of business in New York, New York.

        9.        The plaintiff alleges damages which currently exceed $2,107,000.00.

        10.       In accordance with 28 U.S.C. 1446(d), written notice of the filing of this

Removal Notice will be given to all parties to this suit and will be filed with the clerk of

the Worcester Superior Court, following the filing of this notice.

        11.       In submitting this Notice of Removal, the defendants reserve all defenses

to this action.

        Accordingly, the defendants hereby file and submit their Notice of Removal.
                                               CHARTIS CLAIMS, INC f/k/a AIG
                                               CLAIMS SERVICES, INC., and
                                               NATIONAL UNIOT FIRE INSURANCE
                                               COMPANY OF PITTSBURGH, PA

                                               By their attorneys,

                                               /s/ Allen N. David
                                               Allen N. David, BBO #115000
                                               Sarah-Elizabeth H. Cloutier, BBO #670244
                                               PEABODY & ARNOLD LLP
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                                               adavid@peabodyarnold.com
                                               scloutier@peabodyarnold.com
DATED: October 18, 2011



                             CERTIFICATE OF SERVICE

        I, Allen N. David, do hereby certify, that I have, this 18th day of October, 2011,
served the foregoing above document, by causing a copy thereof, to be sent electronically
to the registered participants in this case, if any, as identified on the Notice of Electronic
Filing (NEF) and to be served by first class mail to counsel of record:

                                 Richard J. Sullivan, Esq.
                                Eugene F. Sullivan, Jr., Esq.
                                 Sullivan & Sullivan, LLP
                                  40 Washington Street
                                  Wellesley, MA 02481


                                               /s/ Allen N. David
                                               Allen N. David
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